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                          UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEW JERSEY


  MYLAN PHARMACEUTICALS INC.,                       Civil Action No. 21-13087 (JXN) (JSA)

                 Plaintiff,                                         ORDER

                 v.

  TEVA PHARMACEUTICALS
  INDUSTRIES LTD, TEVA
  PHARMACEUTICALS USA, INC.,
  TEVA NEUROSCIENCE, INC., AND
  TEVA SALES & MARKETING, INC.,

                 Defendants.

       THIS MATTER having been opened by the Court; and the Court having considered the

parties’ February 18, 2022 joint discovery plan (ECF No. 47); the parties’ April 12, 2022 joint

status letter (ECF No. 61); and the Court having heard argument of the parties during its April 28,

2022 status conference; and the Court having considered the status of these proceedings; and for

other and good cause having been shown; and for the reasons set forth on the record of these

proceedings,

       IT IS on this 31st day of May, 2022,

       ORDERED that Plaintiff’s request for all materials previously produced to the Department

of Justice in connection with the investigation and action related to Copaxone titled United States

et al. ex. rel. Charles Arnstein and Hossam Senousy v. Teva Pharmaceuticals USA, Inc. et al., No.

1:13-cv-03702 (S.D.N.Y.) (the “prior Qui Tam action”), and Defendants’ objection that the

documents and materials Defendants previously produced to the Department of Justice in

connection with the prior Qui Tam action are irrelevant as a whole and therefore need not be
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    reviewed or produced as part of Phase 1 discovery in this matter are each granted in part and denied

    in part as set forth below; and it is further

            ORDERED that documents and materials from 2008 forward (2008 being on or after the

    period when Mylan began investigating the possibility of developing a generic GA), that were

    produced by Defendants in the prior Qui Tam action, be reviewed by Defendants for relevance

    consistent with the Court’s statements set forth on the record during the April 28, 2022 Zoom

    Status Conference (see April 28, 2022 Hearing Tr. 58:21 – 61:20); and it is further

            ORDERED that the parties shall meet and confer in order to narrow Plaintiff’s request for

    all such documents and materials Defendants previously produced to the Department of Justice in

    connection with the prior Qui Tam action consistent with the preceding paragraph, and upon

    reaching agreement on the scope of such requests, Defendants shall produce such documents, and

    failing such agreement the parties shall promptly advise the Court in writing; and it is further

            ORDERED that the parties are to continue to meet and confer regarding a form of ESI

    Stipulation,1 or submit any remaining disputes regarding the foregoing to the Court for resolution

    forthwith pursuant to Local Civil Rule 37.1; and it is further

            ORDERED that in addition to producing its Citizen Petitions regarding Copaxone,

    Defendants shall search for, collect, and prepare for production all non-privileged materials

    produced to the United States Food and Drug Administration in connection with Teva’s Citizen

    Petitions in connection with Copaxone, as described in Section 6(b)(1)(A) in the parties’ Joint

    Discovery Plan; and it is further

            ORDERED that, once the Discovery Confidentiality Order and ESI Stipulation have been

    entered, Defendants shall produce responsive documents from within the categories described in



1
 The Court’s review of the docket confirms that the parties have since filed their agreed-upon proposed Discovery
Confidentiality Order, (ECF No. 66), which is currently under review by the Court.
                                                          2
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Section 6(b)(1)(A) in the parties’ Joint Discovery Plan and consistent with the Court’s prior

directives; and it is further

        ORDERED that the parties shall submit a joint status letter to the Court by no later than

June 23, 2022; and it is further

        ORDERED that a status conference by way of Zoom Videoconference shall be held before

the undersigned on June 28, 2022, at 3:30 p.m.



                                             s/ Jessica S. Allen
                                             HONORABLE JESSICA S. ALLEN, U.S.M.J.




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